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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Norix Group, Inc.
                                                   Plaintiff,
v.                                                              Case No.: 1:17−cv−07914
                                                                Honorable John Robert
                                                                Blakey
Correctional Technologies, Inc. d/b/a Cortech
USA, et al.
                                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 12, 2024:


         MINUTE entry before the Honorable M. David Weisman: In person settlement
conference held. Unfortunately, the parties made very little progress towards settlement.
Further, despite the Court's invitation to have a further settlement conference, based on the
tenor of the negotiation process, such an offer would be a fool's errand at this point. That
said, if the parties collectively have a significant change in their negotiation position and
strategies, the Court is happy to engage in a further settlement conference upon re−referral
by the district court. All matters relating to the referral of this case having been resolved,
this matter is returned to the District Judge. Referral terminated. Mailed notice (ao, )




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